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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                                ______________________

UNITED STATES OF AMERICA,

               Plaintiff,                             Case No. 1:06:CR:210
v.
                                                      HON. GORDON J. QUIST
LEON FREEMAN,

            Defendant.
______________________________/

                                             ORDER

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge filed March 28, 2007, is

approved and adopted as the Opinion and Findings of this Court.

       2.      Defendant Leon Freeman's pleas of guilty to Counts One and Two of the Superseding

Information are accepted. Defendant Leon Freeman is adjudicated guilty and bond will be revoked

at the time of reporting.

       3.      Defendant Leon Freeman shall report to the United States Marshal in Grand Rapids,

Michigan, at 2:00 PM, Tuesday, May 1, 2007. Defendant Leon Freeman shall be detained pending

sentencing.

       4.      A decision of whether to accept the written plea agreement will be made at the time

of sentencing after the Court has had the opportunity to review the Presentence Investigation Report.

See U.S.S.G. Ch. 6.


Dated: April 13, 2007                                       /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE
